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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON


VAN LOO FIDUCIARY SERVICES LLC, an                      Case No. 3:24-cv-430
Oregon Limited Liability Corporation, as
personal representative of the estate of,               PROPOSED STIPULATED
IMMANUEAL JAQUEZ CLARK, deceased,                       PROTECTIVE ORDER

                      Plaintiff,

       vs.


CITY OF PORTLAND, a municipal
corporation, and CHRISTOPHER
SATHOFF,

                      Defendants.

       One or more of the parties has requested the production of documents or information that
at least one party considers to be or to contain confidential information, and that are subject to
protection under Federal Rule of Civil Procedure 26(c).
       The parties agree that good cause exists to protect the confidential nature of the information
contained in documents, interrogatory responses, responses to requests for admission, or
deposition testimony. This action concerns claims for violations of federal civil rights and state
law brought by Plaintiff and against defendants related to the shooting death of Immanueal Jaquez
Clark in Portland, Oregon on November 19, 2022. The parties expect to exchange confidential
and/or proprietary documents and information relating to those claims. This may include:



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     a)      Photographs and videos related to Plaintiff or his injuries that are the subject of this
             lawsuit;
     b)      Medical records, bills or other medical documentation of Plaintiff;

     c)      Any financial records or other financial documentation of Plaintiff;
     d)      Police reports and/or documents maintained by the Portland Police Bureau
             referencing medical and/or other personal confidential information of non-parties to
             this action;
     e)      Confidential training records and/or documents maintained by the Portland Police
             Bureau relating to any officer or former officer;
     f)      Certain confidential documents maintained by PPB’s Detective Division related to the
             November 19, 2022 shooting death of Mr. Jacquez Clark.
     g)      Certain confidential documents maintained by the Portland Police Bureau’s Internal
             Affairs Division (“IAD”) relating to any Portland police officer or former officer;
     h)      Certain confidential documents maintained by the City Auditor’s Independent Police
             Review (“IPR”) Division relating to any Portland police officer or former officer;
     i)      PPB’s nonpublic documents describing tactical and strategic decision making;

     j)      Nonpublic training course materials maintained by the Portland Police Bureau’s
             Training Division.

     k)      Personnel files, including disciplinary files, of any Portland police officer or former
             officer; and
     l)      Personal Identifiable Information, medical information, as well as other personal and
             private information, including potential witnesses to the events that are the subject of
             this lawsuit.
          m) Portland Police Bureau imagery protected by ORS 181A.830 et seq. and ORS
             192.355(2)(b);
          n) Any videotape or digital recording of any party deponent or any police officer or law
             enforcement deponent;

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            o) Police reports and/or documents maintained by PPB referencing medical and/or
               other personal confidential information of non-parties to this action.
       The parties agree that the entry of this Stipulated Protective Order (“Protective Order”) is

warranted to protect against disclosure of such documents and information as described above in
subparagraphs (a)-(o). However, in accordance with the process set forth in paragraph 10 of this
Protective Order, the parties reserve the right to challenge the “Confidential” designation of any
document or information contained in the categories listed above in subparagraphs (a)-(o).
Likewise, the parties agree they may designate subsequent documents or information as
“Confidential,” in accordance with the terms of this Protective Order, and likewise, the parties
agree they may challenge that subsequent “Confidential” designation in accordance with the
process set forth in paragraph 10 of this Protective Order.
       Based upon the above stipulation of the parties, and the Court being duly advised, IT IS
HEREBY ORDERED as follows:

       1.      All documents, testimony, and other materials produced by the parties in this case
and labeled “Confidential” shall be used only in this proceeding.

       2.      Use of any information or documents labeled “Confidential” and subject to this
Protective Order, including all information derived therefrom, shall be restricted solely to the
litigation of this case and shall not be used by any party for any business, commercial, or
competitive purpose. This Protective Order, however, does not restrict the disclosure or use of any
information or documents lawfully obtained by the receiving party through means or sources
outside of this litigation. Should a dispute arise as to any specific information or document, the
burden shall be on the party claiming that such information or document was lawfully obtained
through means and sources outside of this litigation.

       3.      The parties, and third parties subpoenaed by one of the parties, may designate as

“Confidential” documents, testimony, written responses, or other materials produced in this case
if they contain information that the producing party has a good faith basis for asserting is


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confidential under the applicable legal standards. The party shall designate each page of the
document with a stamp identifying it as “Confidential,” if practical to do so.

       4.      If portions of documents or other materials deemed “Confidential” or any papers
containing or making reference to such materials are filed with the Court, they shall be filed under
seal and marked as follows or in substantially similar form:

               CONFIDENTIAL

               IN ACCORDANCE WITH A PROTECTIVE ORDER, THE
               ENCLOSURE(S) SHALL BE TREATED AS CONFIDENTIAL AND
               SHALL NOT BE SHOWN TO ANY PERSON OTHER THAN
               THOSE PERSONS DESIGNATED IN PARAGRAPH 7 OF THE
               PROTECTIVE ORDER.

If a party is filing a document that it has itself designated as “Confidential,” that party shall
reference this Stipulated Protective Order in submitting the documents it proposes to maintain
under seal. If a non-designating party is filing a document that another party has designated as
“Confidential,” then the non-designating party shall file the document under seal. If the non-
designating party makes a request in writing to have the document unsealed and the designating
party does not file, within ten calendar days, a motion that shows good cause to maintain the
document under seal, then the Court shall unseal the document. Before seeking to maintain the
protection of documents filed with the Court, a party must assess whether redaction is a viable

alternative to complete nondisclosure.

       5.      Within thirty (30) days after receipt of the final transcript of the deposition of any
party or witness in this case, a party or the witness may designate as “Confidential” any portion of
the transcript that the party or witness contends discloses confidential information. If a transcript
containing any such material is filed with the Court, it shall be filed under seal and marked in the
manner described in paragraph 4. Unless otherwise agreed, all deposition transcripts shall be
treated as “Confidential” until the expiration of the thirty-day period.

       6.      “Confidential” information and documents subject to this Protective Order shall not

be filed with the Court or included in whole or in part in pleadings, motions, briefs, etc., filed in
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this case, except when any portion(s) of such pleadings, motions, briefs, etc. have been filed under
seal by counsel and marked in the same manner as described in paragraph 4 above. Such sealed
portion(s) of pleadings, motions, briefs, documents, etc., shall be opened only by the Court or by

personnel authorized to do so by the Court.

       7.      Use of any information, documents, or portions of documents marked
“Confidential,” including all information derived therefrom, and not otherwise publicly available,
shall be restricted solely to the following persons, who agree to be bound by the terms of this
Protective Order, unless additional persons are stipulated by counsel or authorized by the Court:

               a.       Outside counsel of record for the parties, and the administrative staff of

       outside counsel’s firms.

               b.       In-house counsel for the parties, and the administrative staff for each in-
       house counsel.

               c.       Any party to this action who is an individual, and every employee, director,
       officer, or manager of any party to this action who is not an individual, but only to the
       extent necessary to further the interest of the parties in this litigation.

               d.       Independent consultants or expert witnesses (including partners, associates
       and employees of the firm which employs such consultant or expert) retained by a party or
       its attorneys for purposes of this litigation, but only to the extent necessary to further the
       interest of the parties in this litigation.

               e.       The Court and its personnel, including, but not limited to, stenographic

       reporters regularly employed by the Court and stenographic reporters not regularly

       employed by the Court who are engaged by the Court or the parties during the litigation of
       this action.

               f.       The authors and the original recipients of the documents.

               g.       Any court reporter or videographer reporting a deposition.

               h.       Employees of copy services, microfilming or database services, trial

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        support firms and/or translators who are engaged by the parties during the litigation of this
        action.

        8.        Prior to being shown any documents produced by another party marked
“Confidential,” any person listed under paragraph 7(c) or 7(d) shall agree to be bound by the terms
of this Order by signing the agreement attached as Exhibit A.

        9.        Whenever information designated as “Confidential” pursuant to this Protective
Order is to be discussed by a party or disclosed in a deposition, hearing, or pre-trial proceeding,
the designating party may exclude from the room any person, other than persons designated in

paragraph 8, as appropriate, for that portion of the deposition, hearing or pre- trial proceeding.

        10.       Each party reserves the right to dispute the confidential status claimed by any other

party or subpoenaed party in accordance with this Protective Order. If a party believes that any

documents or materials have been inappropriately designated by another party or subpoenaed
party, that party shall confer with counsel for the designating party. As part of that conferral, the
designating party must assess whether redaction is a viable alternative to complete non-disclosure.
If the parties are unable to resolve the matter informally, a party may file an appropriate motion
before the Court requesting that the Court determine whether the Protective Order covers the
document in dispute. Regardless of which party files the motion, the party seeking to protect a
document from disclosure bears the burden of establishing good cause for why the document

should not be disclosed. A party who

disagrees with another party’s designation must nevertheless abide by that designation until the
matter is resolved by agreement of the parties or by order of the Court.

        11.       The inadvertent failure to designate a document, testimony, or other material as
“Confidential” prior to disclosure shall not operate as a waiver of the party’s right to later designate
the document, testimony, or other material as “Confidential.” The receiving party or its counsel
shall not disclose such documents or materials if that party knows or reasonably should know that
a claim of confidentiality would be made by the producing party. Promptly after receiving notice

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from the producing party of a claim of confidentiality, the receiving party or its counsel shall
inform the producing party of all pertinent facts relating to the prior disclosure of the newly-
designated documents or materials, and shall make reasonable efforts to retrieve such documents

and materials and to prevent further disclosure.

       12.     Designation by either party of information or documents as “Confidential,” or
failure to so designate, will not be constitute an admission that information or documents are or
are not confidential or trade secrets. Neither party may introduce into evidence in any proceeding
between the parties, other than a motion to determine whether the Protective Order covers the
information or documents in dispute, the fact that the other party designated or failed to designate
information or documents as “Confidential.”

       13.     Upon the request of the producing party or third party, within 30 days after the entry
of a final judgment no longer subject to appeal on the merits of this case, or the execution of any
agreement between the parties to resolve amicably and settle this case, the parties and any person
authorized by this Protective Order to receive confidential information shall return to the producing
party or third party, or destroy, all information and documents subject to this Protective Order.
Returned materials shall be delivered in sealed envelopes marked “Confidential” to respective
counsel. The party requesting the return of materials shall pay the reasonable costs of responding to
its request. Notwithstanding the foregoing, counsel for a party may retain archival copies of
confidential documents.

       14.     This Protective Order shall not constitute a waiver of any party’s or non- party’s

right to oppose any discovery request or object to the admissibility of any document, testimony or
other information.

       15.     Nothing in this Protective Order shall prejudice any party from seeking
amendments to expand or restrict the rights of access to and use of confidential information, or
other modifications, subject to order by the Court.

       16.     The restrictions on disclosure and use of confidential information shall survive the

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conclusion of this action and this Court shall retain jurisdiction of this action after its conclusion
for the purpose of enforcing the terms of this Protective Order.
       SO STIPULATED:

        s/ Jesse Merrithew                             s/ Carey Caldwell
       Jesse Merrithew                                Carey Caldwell
       Attorney for Plaintiff                         Attorney for Defendant City of Portland



       The Court has reviewed the reasons offered in support of entry of this Stipulated Protective

Order and finds that there is good cause to protect the confidential nature of certain information.
Accordingly, the Court adopts the above Stipulated Protective Order in this action.

       IT IS SO ORDERED.


       DATED:




                                                        United States District Judge Karin J.
                                                        Immergut




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                                           EXHIBIT A
       I,                                 , have been advised by counsel of record for
                                           in



of the protective order governing the delivery, publication, and disclosure of confidential
documents and information produced in this litigation. I have read a copy of the protective order
and agree to abide by its terms.


                                                     Signed


                                                     Printed Name


                                                     Date




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